Case 1:O4-cr-10038-.]DT Document 123 Filed 07/18/05 Page 1 of 2 Page|D 128

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IN THE UNITED STATES DISTRICT COURTU$J JU CS 0
FOR THE WESTERN DISTRICT OF TENNESSEE z /B `C‘

EASTERN DIVISION @L;§,T,!j%t;tw._-.

UNITED STATES OF AMERICA,
Plaintiff,
VS. No. 04-10038-T

ELTON NANCE,

Defendant.

ORDER DENYING MOTION FOR COMPENSATION
IN EXCESS OF MAXIMUM LIMITS

Jeff Mueller, court-appointed counsel of record for defendant Elton Nance in this matter, has
filed a motion seeking compensation under the Criminal Justice Act (“CJA”) in excess of the
maximum limit of $7,000.00 set out in the statute, 18 U.S.C. § 3006A(d)(2). Pursuant to
§ 3006A(d)(3), compensation over the maximum amount may be allowed if the Court certifies that
the case involved extended or complex representation, and the payment is approved by the chief
judge ol` the circuit or his designee.

The Court has reviewed the record and concludes that this matter did not involve unusual
factual or legal issues so that the case could be deemed “complex”. The Court also concludes that
the case did not require significantly more time for processing than the average case. Therefore, the
motion for excess compensation is DENIED.

IT IS SO ORDERED.

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uNI ED sTATEs DrsTRICT JUDGE

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DATE L/ /

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with Rule 55 and/or 32(b) FRCrP on ’

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Notice of Distribution

This notice confirms a copy of the document docketed as number 123 in
case 1:04-CR-10038 Was distributed by fax, mail, or direct printing on
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J eff Mueller

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Honorable J ames Todd
US DISTRICT COURT

